            CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 1 of 24


Case Number: 20-150    (NEB/BRT)                                dated:2/412021              Page   lof24




                                I.JNITED STAIES DISTRICT COURT
                                     DISTRICT OF MINNESOTA
                                   Criminal No. 20- I 50 (NEB/BRT)

UNITED STATES OF AMERICA.

                              PLAINTIFF
                                                                  MOTION FOR FRANKS
                                                                  HEARING AND MEMORANUM
                                                                  IN SUPPORT OF MOTION FOR
                                                                  HEARING PURSUANT TO
                                                                  FRANKS V. DELEWARE



V.

GREGORY LYNN MCCOY

                         DEFENDANT.
                                     w
                                                FACTS



On October 22,2019law enforcement executed a search warrant at2939 Sheridan Avenue North in

Minneapolis. The residence appears to be a regular house from the outside, but it is actually a multi-

unit rental property. Notwithstanding outward appearances, the house is a multi-unit rental property

registered with the city of Minneapolis in the county of Hennepin, affixed herein is a copy of the lease

for the room rented by Mr. McCoy. See. (Def, Ex. G -A,B,C)

     Within the two-week period to the drafting of the warrant affidavit, law enforcement received

information from, a confidential reliable informant, (hereinafter CRI) that a person named "Greg" was




                                                                                   FEB 1   r nzl
             CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 2 of 24


Case Number: 20-150     (NEB/BRT)                               dated:2/4/2021                Page2of24

in possession of a gun, and was selling Cocaine and Marijuana, around the area of 29'r'and

Sheridan Avenue North. The CRI alleged that "Greg" uses a handgun for "intimidation and protection."

(Def. Ex. A-2).The CRI provided a phone number for Greg of (612) 458-0114. id. Offrcer Marshall

utilized the Clear and DVS website, and learned conflicting information about, the phone numbers

provided by Metro PCS phone record affixed here see (Def Ex. B-2,), shows that the number was

owned by a "Craig Davis" whose address, is on West Broadway Avenue in north Minneapolis. This

name and address was not investigated, nor was the conflicting name and address information

mentioned in the application.

        Officer Marshall checked DVS records, and leamed that one time, Mr. McCoy owned a2002

Chevy Trail Blazer that was registered to the address 2939 Sheridan Avenue North in Minneapolis.

Officer Marshall alleged that he had observed this vehicle parked in front of this address "several

times" (Def Ex. A-2).The CRI informed police that Mr. McCoy stays with another individual known

as   "Pumpkin" who sells narcotics and also has a gun and drives a black Range Rover, a Range Rover

was observed by Ofticer Marshall parked in the rear of the Sheridan address, Offrcer Marshall took

down the plate number and took a photograph of the vehicle, and showed it to the CRI who, believed it

looked "identical" to the one that, she had seen Gregory McCoy driving. See (Def Ex. A-3).

        Within T2hours of the application for the warrant, police conducted an alleged controlled buy

with Mr. Turnage in which they say that they watched    as Turnage   left his residence at the boarding

house, at2939 Sheridan Avenue North and alleged that he conducted a transaction, and then returned to

the boarding house at2939 SheridanAvenue . See (DEF Ex. A-3-4)




                                                    2
           CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 3 of 24


Case Number: 20-150      (NEB/BRT)                                  dated:2/4/2021             Page3of 24




                                                       Arguments

           I.   THE STATE COURT WARRANT APPLICATION LACKED SUFFICIENT
                PROBABLE CAUSE TO JUSTIFY THE OCTOBER 22,2019 SEARCH OF 2939
                SHERIDAI\ AVENUE


            The Fourth Amendments directs, in straightforward fashion:


             The   right of the people to be secure in persons, house, papers, and efects, against
             unreasonable searches and seizures an shall not be violated, and no warrants shall be
             issued but upon probable cause supported by oath or afiirmation.



            Mr. McCoy asserts that the information set forth in Officer Marshall's October 15,2019

  application fails to meet the constitutional standards. In addressing this question, "only that

  information which is found within the four comers of the affidavit may be considered in

  determining the existence of probable cause. United Sates v. Gladney, 48 F.3d 824,827 (8'h Cir.

  200s).




           In common sense terms this means:

                 An afridavit must provide the Magistrate with a substantial basis for determining the
                   existence   of probable cause. Sufficient information must be presented to the
                Magistrate to allow that     fficial   to determine probable cause, his action cannot be a
                mere ratification of the bare conclusions of others. In order to ensure that such an

                abdication of the Magistrate's duty does not occun courts must continue to consciously
                review the sufliciency of afidavits on which warrants are issued.
               CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 4 of 24


Case Number: 20-150       (NEB/BRT)                                  dated:2|412021               Page    4of24


             Illinois v. Gates. 462 U.S 213,239 (1983).



   The Supreme court declared more than 50 years ago:

               The basic purpose of this Amendment, as recognized in countless decisions of this court is

               to safe guard the privacy and security of individuals against   arbitrary   invasions by
               government officials. Camara v. Municipal court of the City and County of San Francisco,
               3878 U.S. 523, 528 (1967).


               As a threshold matter even though the boarding house at2939 Sheridan Avenue North was

    searched based on a search warrant, the search wanant is so lacking of probable cause. "probable

    cause exists where there is     a   fair probability that contraband or evidence of a crime will   be   found

    in   a   particular place. " United States v.Skoda. 705 F.3d 834,838 (8'h Cir. 2013) (quotation marks

    omitted) citing United States v. Donnelly.475 F.3d 946,954 (8'h Cir. 2007\ and Illinois v. Gates.

    462 U.S. 213,238,103 S. Ct. 2317,76L.Ed.2D 527 (1983). The "fatal flaw" in the affidavit for

    the search of the boarding house at2939 Sheridan Avenue North, is the lack of probable cause that

    evidence of Mr.Turnage's alleged crimes would be found at the boarding house. In order to

    establish probable cause, the affidavit must establish       a "nexus...between the item to be seized and

    criminal behavior. " Warden v. Havden.387 U.S.294,307,87 S. Ct. 1642,18 L. Ed. 2D782

   (1967). " There must olso be a nexus between the contraband and the place to be searched."

    United States v. Tellze. 217 F.3d 547,550 (8'h Cir. 2000). Officer Marshall's affidavit had to state

    direct and reliable information concluding a suflicient "nexus" existed between alleged possession

    of guns and drugs by Mr. Tumage and Mr. McCoy and the boarding house at2939 Sheridan

   Avenue.

              Officer Marshall begins with     a   tip from a (CRI) that Mr. Tumage and Mr. McCoy were
           CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 5 of 24


Case Number: 20-150     (NEB/BRT)                                     dated:2|4/2021              Page   5of24

    dealing drugs and possessed firearms in the area around 29'h street and Sheridan Avenue, and that

    Mr. Turnage "stays with" Mr. McCoy. (see Def. Ex. A -2-3).

    The affidavit fails to provide anything beyond conclusory statements that the (CRI) knows Mr.

    Turnage and Mr. McCoy are engaging in illegal activity and that Mr.Turnage drives a black Range

    Rover. (Wong Sun v. United States. 371 U.S. 471,83 S. Ct. 407,9 L. ed.             2D 44t) (1963). (Where
    information said Tby operator of laundry on certain street had heroin, but several laundries on
    that street operated by persons named Toy, probable cause lacking because there was no showing
    the oficers had some reliable inftrmation of some kind which had narrowed the scope of their

    search to this   particular   Toy.)

    Critically, these statements do not reveal that the (CRI) knew where Mr. Turnage and Mr. McCoy

    supposedly live, nor do they give rise to any sort of nexus between 2939 Sheridan Avenue North

    and the alleged possession of guns or drugs.

           The (CRI) did not even say that she had seen Mr. McCoy or Mr. Turnage with guns and

    drugs, or knew that the men possessed guns and sold drugs out of a home. As in Nathanson v.

    United States. 290 U.S.       4l   (1933). "A search warrant cannot legitimately be based on the

    conclusory beliefs of law edorcement " In Nathanson the court rejected an affidavit based on the

    officer's brief assertion that the search of a particular area would result directly in the discovery   of
    contraband. The search warrant was all based on the (CRI's) supposition that Mr. McCoy and Mr.

    Turnage were engaging in criminal activity. Just as conclusory statements are insufficient to

    establish probable cause.

           "nothing" indicates that a warrant to search      a   private dwelling may rest upon mere
           affirmation of suspicion or belief without disclosure of supporting facts or circumstances

    Under the Fourth Amendment an officer may not properly issue a warrant to search a private

    dwelling unless he can find probable cause therefor from facts or circumstances presented by
            CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 6 of 24


Case Number: 20-150       (NEB/BRT)                                  dated:2|412021              Page   6of24

    Officer Marshall under oath or affirmation. "Mere afirmation of belief or suspicion is not

    enough" Nathanson v. United States.290 U.S. At 47 (emphasis supplied)

        What was presented to the State Court Judge in this application was little more than

    statements of the officer's belief that he had a suspicion of criminal activity. Nathanson made        it

    clear that is not the basis for the issuance of a warrant. An officer needs to present some

    underlying facts, which justiff his or her suspicions other than the (CRI's) statements. For

    example, if the police had uncovered packaging material or drug refuse in a trash receptacle used

    by the residents, this would have given weight to the officer's suspicion, and backed the (CRI's)

    statements.

    See United States v.       Briscoe,3lT F. 3d 906   (8'h Cir. 2003); United States v. Sumpter,668 F. 2d

    l2l8   (8'h   Cri.l982).

             Allegedly, Ofticer Marshall received some sort of information from the (CRI) that Mr.

    Turnage and Mr. McCoy were dealing drugs near Sheridan Avenue North and 29'h Avenue North.

    (see Def. Ex.    A-3) Yet, nothing in Offrcer Marshall's affidavit revealed any underlying facts to

    support this conclusory allegation. Merely reciting the (CRI's) beliefs is not sufficient to      justify   a

    warrant. Therefore the (CRI's) statement lacks value because Officer Marshall did not provide any

    details of the information he received, that would permit the issuing magistrate to independently

    evaluate his conclusion that defendants were dealing drugs or possessing guns at2939 Sheridan

    Avenue North.

             Officer Marshall may not rely on a warrant based on an affidavit so lacking in idicia of

    probable cause as to render official belief in its existence entirely unreasonable. But what does this

    mean? A search based on a warrant not supported by probable cause is by           definition an

    unreasonable search. (United States v. Leon.468 U.S. 897,923) (Quoting Brown v.             Illinois.422
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 7 of 24


Case Number: 20-150      (NEB/BRT)                                dated:2/4/2021             Page7of24

    U.S. 590 610-l     l) (1975). Officer Marshall continued   his investigation by running down names

    associated with two phone numbers given to him by the (CRI), which these numbers are 612-458-

    0l l4 and 612- 403-2077.(see Def, Ex. A 2-3) Though on the face of the affidavit he does allegedly

    manage to connect these numbers to both Mr. McCoy and Mr. Tumage, but neither of these

  . numbers     are tied to 2939 Sheridan Avenue in any way. Officer Marshall gives a misleading

    statement in affidavit, by stating that he pulled the records for each number, yet nothing in the

    affidavit mentions that the numbers are connected to other addresses or a different person. (see

    Def. Ex. A 1-7).

                Neither phone number 612-458-0114 or 612-403-2077 does not establish a nexus

      between any alleged criminal activities and the boarding house at2939 Sheridan Avenue

      North, according to the phone records from Metro PCS it shows that the number 612-458-01l4

      that Officer Marshall alleged that was connected to Mr. McCoy is billed to a "Craig Davis,"

      whose address is on West Broadway Avenue in North Minneapolis, (see Def, Ex. B-2) andthe

      second number 612-403-2077 that was said to belong to Mr. Tumage is billed         to l77l kent

      street in Roseville Minnesota. (see Def, Ex. H-2) Not only were these addresses not

      investigated, they were not even mentioned to the magistrate. (see Def, Ex. A 1-7)

            Nothing in the affidavit connects these numbers to the boarding house at2939 Sheridan

      Avenue North, or ("by which      it is alleged that Mr. McCoy could be contacted to purchase

      drugs.)

            In United States v. Herron. the Eight Circuit held that the good faith exception does not

      save a search warrant where the supporting     affidavit provided no evidence of illegal activity at

      the address to be searched. United States v.   Henon.2l5     F.3d 812, 815 (8'h Cri.2003) (finding
      that lack of evidence in a search warrant    ffidavit and the "obvious nature of the deficiency"
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 8 of 24


Case Number: 20-150   (NEB/BRT)                                 dated:2|4/2021               Page   8of24

      meant an oflicer could not reasonably rely on the warrant).

           In that case Tommie Buck was suspected of growing marijuana on his farm, which was Mr.

     Herron's property. Id. At 813. Mr. Herron and Mr. Buck were cousins. Id. Mr. herron had two

     previous convictions for cultivating marijuana in a different state, and Mr. Buck had been living

     at Mr. Herron's farm for four months before the warrant was issued. Id. The warrant affidavit

     said little else tying Mr. Buck's suspected illegal activity to either Mr. Herron or his property .Id.

     At 814 ("The aftidavits simply does not say very much abut Mr. Herron or his residence.")

     The Eight Circuit held that the flaws in the affidavit went beyond mere technical legal

     deficiencies, and as a result the good faith exception did not apply. Id. At 814, cf.

     United States v. Carpenter. 341 F.3d 666,673 (8'r'Cir. 2003) (finding that good faith exception

     applied where "potential legal deficiencies" were minor). By contrast the Eighth Circuit has

     indicated that failing to specifically mention that narcotics are likely to be found in a suspect's

     home is a "technical legal deficiency" where the affidavit at issue contained an established

     connection between an individual and the drug trade and the targeted residence was specifically

     identified as that individual's home. Carpenter.34l F.3d at673.

          In this case the boarding house at2939 Sheridan Avenue North warrant affidavit did not

     contain the supporting indicia that led the Carpenter court to apply the good faith exception.

     The affidavit seeking permission to search the boarding house at2939 Sheridan Avenue North

     allegedly tied Mr. Turnage to narcotics trafficking, but did not establish the boarding house's

     connection to those activities, either through Mr. McCoy's participation nor through Mr.

     Tumage's "residency". As such this case closely mirrors the facts of Herron. Mr. Tumage was

      known to have been seen at the boarding house at2939 Sheridan Avenue North at least once,

      which is even more attenuated than the facts in Herron, where the suspect was known to have
             CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 9 of 24


Case Number: 20-150       (NEB/BRT)                                dated:z|412021             Page9of24

       once lived on Mr. Herron's farm. As with Mr. Herron's property there is simply no indication in

       the affrdavit that the boarding house at2939 Sheridan Avenue North was connected to the

       suspect's alleged illegal activities.

                  The Eight Circuit's Herron's decision does not stand alone. Other circuit courts have

       found police reliance on warrants entirely unreasonable where supporting affidavits fail to

       demonstrate a nexus between suspected criminal activity and the place to be searched.

       See   United States v. Brown, 828 F.3d 375, 385-86 (6'h Cir. 2016) (concluding the district court

       erred in denying a motion to dismiss and that reliance on the warrant was entirely

     unreasonable where the afridavit did not draw a "plausible connection to the residence" to be

     searched);United States v. Underwood. 725F.3d 1076, 1086-87 (9'h Cir.20l3) (afrirming

     district court's suppression order and concluding that the Leon exception did not apply where the

     afiidavit provided "nofactual basis for the conclusion that drug trafficfting United States v.

     Gonzales. 399 F.3 1225, (10'h Cir. 2005) (finding the Leon exception inapplicable where the

    aflidavit lacked a"foctual basis connecting the place to be searched to the defendant or

    suspected criminal      activity" so that reliance on the warrant was "entirely unreasonable");

    United States v. Laughton, 409 F.3d 744,749 (6'h Cri. 2005) (reversing a district court decision

    based on the Leon exception where there was        no "modicum of evidence, however slight, to

    connect the criminal activity to the place to be searched").

              This case, likewise is the rare one where the complete lack of nexus rendering reliance on

    the warrant, entirely unreasonable precisely because there was no connection in the affidavit

    drawn between, the boarding house at2939 Sheridan Avenue North and Mr Turnage's alleged

    activities.

    Mr McCoy requests a Franks hearing to further develop the evidentiary record in this matter.
            CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 10 of 24


Case Number: 20-150    (NEB/BRT)                                 dated:z|412021              Page lOof24




      II.   THE INFORMATION ABOUT THE TRAILBLAZER WAS STALE AND
            ITS INCLUSION IN THE WARRANT WITHOUT INFORMING THE
            MAGISTRATE OFWHEN THE VEHICLE WAS SEEN NEAR THE
            SHERIDAN HOUSE IS AN OMMISSION EVINCING RECKLESS
            DISREGUARD FOR THE TRUTH.

            Officer Marshall states that he ran Mr. McCoy's name through the, DVS database and

            locates a2002 Chevy Trailblazer registered in, Mr. McCoy's name addressed to,2939

            Sheridan Avenue. (see   Def   Ex. A-2). The affidavit does not mention that the, CRI confirms

       this to be, McCoy's vehicle. Neither the CRI's information nor, Officer Marshall's continued

       investigation revealed any nexus between the vehicle and any illegal activity. Though Officer

       Marshall's affrdavit does state he, observed the vehicle outside of 2939 Sheridan Avenue on

       multiple occasions, (see Def Ex. A-2) but still fails to provide information of Mr. McCoy,

       being observed near the residence, or the vehicle.

              Mr. McCoy sold that vehicle, weeks before the executed warrant, thereby making it stale

       information. When the vehicle was allegedly observed is a necessary ingredient

       of a finding of probable cause just as important as where the vehicle was observed. See..lGates

       v. Illinois. 462 U.S. 213,245 (1983); Draper v. United States. 358 U.S. 307 (1959). Inclusion

       of knowingly stale information without informing the magistrate of the temporal infirmities is

       illustrative of reckless disregard for the truth. Its absence from the affidavit diminishes the

       probable cause, by straining the geographic and temporal nexus between Mr. McCoy and the

       boarding house at2939 Sheridan Avenue North, which is required by Gates and Draper, supra.

             The next attempt to connect the boarding house to alleged illegal activities on the part    of
       Mr. McCoy and Mr. Turnage is through a Range Rover, that according to the (CRI) Mr.

       Turnage drives a "black Range Rover." (see Def. Ex. A -3) Though the affidavit does state that

                                                     l0
           CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 11 of 24


Case Number: 20-150     (NEB/BRT)                                   dated:2|412021                Page   llof24
       Oflicer Marshall observed a Range Rover in the rear of 2939 Sheridan Avenue and took down

       the license plate number But it in no way connects that vehicle to Mr. Turnage other then the

       (CRI's statement that Mr. Tumage drives the Range Rover.

       The affidavit plainly does not state any facts which could lead to the conclusion that

       Mr. Tumage's Range Rover was ever seen parked behind the boarding house.

              Another statement that the (CIR) makes is that the Range Rover is identical to the one she

     has seen Gregory McCoy           driving. (see Def. Ex. A-3) Nothing in the affidavit provides reliable

      facts that the two men shared vehicles, and nothing in the affrdavit even suggest that the Range

     Rover belongs to Mr. Turnage. Officer Marshall does state in the second warrant application that

     the black Range Rover license plate number DCU066 is registered to John              NMN Turnage

     D.O.B. 04\03\69, "but that is a false statement." (see Def Ex. E-2) The Range Rover is

     registered to a "Denise Pickford" (see Def, Ex. C-4).

            These omissions becomes more troubling when Offrcer Marshall said he checked the DVS

     record for Mr. McCoy it is also reasonable to assume that he checked for Mr. Turnage as well.

     After all, the (CIR's) information related to both Mr. McCoy and Mr. Turnage. A, DVS check on

     Mr. Tumage would reveal that his drivers permit listed him to         l77l kent street in Roseville
     Minnesota (see Def, Ex. C-4), and also Officer Marshall recklessly disregard for the truth by

     omitting the fact that Mr. McCoy's drivers license listed him to2329 ll'h avenue east in the city

     of North St. Paul. (see Def, Ex. C-3)

            The address listed on Mr. McCoy's drivers license was not revealed to the magistrate nor

     was   it investigated   as   Mr. McCoy's actual address. (see Def Ex. A   l-7)   Another issue is that

     Officer Marshall did or should have spoken to Mr. McCoy's and Mr. Tumage's probation

     agents,he knew both parties were on federal probation (see Def, Ex. I-14 )


                                                        ll
           CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 12 of 24


Case Number: 20-150   (NEB/BRT)                                   dated:2|412021              Page   l2of24

     Mr. Turnage's address on file with the United States Federal Probation Offrce has him listed to

     3400 Tyler Street Northeast Minneapolis. (see Def, Ex.   J -i,,2) Also included herein   is Complaint

     and Order of Detention from Hennepin County District Court for John Tumage with an address

     listed to 3400 Tyler Street Northeast Minneapolis, that was signed by Officer JeffMarshall the

    "Complainant." (see Def. Ex. D -1,4) Your affiant Officer Marshall neglected to inform the

    Magistrate of this conflicting address also.

           (An oddress onJile with the United States Probotion Olfice is strong evidence of where

     a   probotioner is living.) see: case 0:19-CR-0050-ADM-TNL. ANN MONTGOMERY'S

     ORDER PAGE I I.)

           Thus, by the time that the alleged controlled buy occurred nothing had established any

     nexus between Mr. Tumage and the boarding house at2939 Sheridan Avenue

    " A showing of probable cause requires evidence of a nexus between the contraband and the place

     to be searc,hed." United States v. Skada, 845 F.3d 370 (8'h Cir. 2016) (quotation marks omitted)

    (quoting United States v. Tellez. 217 F.3d 547,550 (8'h Cir. 2016). See United States v. Rios-

    Uscanp 2017 U.S. Dist. Lexis 68009 (D. Minn. 2017).       (   "A warrant to search a residence was

    not based on probable cause as required by the Fourth Amendment because the warrant afidavit

    failed to establish that proof of drug trafickingwould   be   found at the residence. There was no

    showing of a tie between the residence and defendant's illicit activities." ) The affidavit here

    reveals that the (CRI) did not   identi$ 2939 Sheridan Avenue North     as either man's address and

    up to that point neither Mr. Turnage nor Mr. McCoy had been seen entering or exiting the

    boarding house. The alleged controlled buy is the first instance of any suggestion of a connection

    between Mr. Turnage and that is too minimal. "Certainly, the nexus showing required by the

    Fourth Amendment need not be very significant." See, e. g., United States v. Ross, 487 F.3d I120,

                                                   t2
             CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 13 of 24



Case Number: 20-150        (NEB/BRT)                               dated:2/4/2021                     Page   l3of24

     I123 (8'h Cir.2007) (nexus to search individual's home exists where that person is closely tied to

    narcotics traf/icking),'United States v. Patterson,666 Fed. Appx. 569,2016WL7404778,at*2

    (8'h   Cir.20l6) (pre curiam) (frequent visits to o home by a known drug dealer can establish a

    nen$ to a home for contrabandl; United States v. Keele. 59 F.3d 940,944 (8'h Cir. 2009) (nexus

    sfficient    to   justify a warcant existed between narcotics .found at a car accident scene and the

    driver's home). All the aflidavit here states is that Mr. Turnage was seen exiting the boarding

    house at2939 Sheridan Avenue North and going to the alleged controlled buy, "the affidavit is

    silent on whether by car or by foot." selling drugs and returning to the property. (see Def, Ex. A-

    4).

               Nothing can be in inferred from the facts stated in the affidavit, if the amount of drugs

    sold was so large as to think that it would have been stored in the boarding house, or that

    Mr. Turnage traveled to the sale on foot, an not in a vehicle where the drugs could have actually

    been stored and retrieved from, even       if officers observed that Mr. Tumage "went directly" to the

    alleged sale. Again the affrdavit is silent on these facts, and fails to establish a proper nexus

    between 2939 Sheridan Avenue and drug sales as well as firearm possession.               "   The task of a court

     issuing a search warrant is simply to make a practical commonsense decision whether given all

    the circumstances set      forth in the afidavit ... there is afair probability that contraband or

    evidenceofacrimewillbefoundinaparticularplace.,,l!!!@,462U.S.At238also
    see United States v. Seidel,677 F.3d334,337 (8'h Cir. 2012). Therefore at the conclusion of the

    alleged buy no facts supported the idea that Mr. Turnage possessed any quantity of drugs, much

     less that they would be located at the boarding house.     " Probable cause      exists where there is a


    fair probability that contraband or evidence of a crime will      be   found in   a   particular place."

    United States v. Skoda. 705 F.3d 834,838 (8'h Cir. 2013) (quotation marks omitted) (citing United

                                                       l3
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 14 of 24


Case Number: 20-150   (NEB/BRT)                                     dated:2|4/2021             Page   l4of24

     States v. Donnell),, 475 F.3d946,954 (8'h Cir. 2007) and      Illinois v. Gates.462 U.S. 213,238,103

     S. Ct 2317,76 L. Ed. 2D 527 (1983). I(hen determiningwhether probable cause exists, a court

    does not independently evaluate each piece of information, but rather considers        all of the facts

    for their cumulative meaning. United      States v.   Allen. 297 F.3d790,794 (8'h Cir. 2002). The

    affidavit here shows no suspicious activity on the boarding at2939 Sheridan Avenue North, but

    mere speculation of Officer Marshall. Indeed, recent Eight Circuit decisions exploring probable

    cause highlights the sort   of facts that are missing from Officer Marshall's affrdavit. See, e.g.,

    Patterson. 666 Fed.   Appx 569,2016WL740778, at*2 (affirming probable              cause to search

    residence based onfrequent visits by a known drug deale4 who used the home.for storage);

    Keele. 589 F.3d at944 (affirming probable cause to search driver's home where narcotics were

    found at a car accident scene/; Ross.487 F.3d at ll23 (affirming probable cause to search

   individual's home, where that person is closely tied to narcotics trfficking);

           United States v. Briscoe. 317 F.3d 906, 908 (8'h Cir. 2003) (affirming probable cause based

   on evidence of drug use found in a trash pal/); United States v. hartje. 25I E3d 771,774 (8'o Cir

   2001) (affirming probable cause based on strong showing of narcotics distribution at suspect's

   residence);United States v. Jackson, 898 F.2d 79,81 (8thcir. 1990) (affirming probable cause

   based on confirmation that that utility   bill was in suspect's name).ln Officer Marshall's affidavit

   none those facts are present. The affidavit offered no facts whatsoever that      "Mr. Turnage nor

   Mr. McCoy lived at the boarding house," or that there was any link between the boarding house and

   suspected drug activities.

          The affidavit is devoid of any facts, or inferences establishing Mr. Tumage had ever been to

   the property before the day of the alleged controlled buy, or "that he did not pick up drugs on his

   way to the boarding house . The alleged buy did not occur at the residence, and nothing about the

                                                      t4
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 15 of 24



Case Number: 20-150    (NEB/BRT)                                      dated,2|4/2021                 Page   l5of24

   alleged transaction indicated that Mr. Turnage even returned to the boarding house in possession              of

   drugs, guns or marked money therefore because of this no nexus existed between any illegal

   activity and the boarding house, and Officer Marshall's affidavit is deficient on it's four comers.

          First the govemment's reading of the probable cause jurisprudence would leave little point

   in reviewing warrants at all. Reviewing courts would need to assume that offrcers had good

   information on which to base a search, even if it was never provided to the issuing judge. Such an

   argument finds no support in the law United States v. O'DeII,766F.3d870,874 (8'h Cir. 2014)

   ("Wen the issuing judge relied solely upon the supporting affidavit to            issue the search warrant,

   information which   is   found within   the   four corners of the warrant, only that of the affidavit may be

   considered in determining the existence of probable cause,         ')   (alteration omitted) (citing

   United States v. Solomon. 432F.3d824,827 (8'h Cir. 2005).

          Officer Marshall essentially ask the court to assume that Mr. Turnage must have lived at the

   boarding house, because only that assumption could explain the officers desire to search it.

   However, probable cause jurisprudence is full of request to search places where a drug dealer might

   store his drugs aside from his own home. See United States v. Wa),s, 832 F.3d 887,892 (8'h Cir.

   2006) (finding probable cause existed to search defendant's retail stores          for narcotics), reh'g.
   denied (Oct. 19, 2016) cert, Denied,      No. 16-7622,2017 U.S. 935,2017 WL 320816 (U.S. Feb. 21,

   2017); Walker.230 F.3d at 1365. The "police" could have asked to search the boarding house

   because they knew Mr. Turnage lived there ,or because they believed he stored his narcotics              with

   Mr. McCoy, or because Mr. McCoy was his drug source. Mr. McCoy invites the Court to adopt one

   these unstated reasons over the other, but none are in the       affidavit and without a more rationale

   explicitly statements on the face of the affidavit the Court must not find that an appropriate

   probable cause nexus was established.

                                                          l5
             CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 16 of 24



Case Number: 20-150     (NEB/BRD                                  dated:21412021               Page   l6of 24

      Mr. McCoy request a Franks hearing to further develop the evidentiary record in this matter.



     ilI.     LAW ENFORCEMENT KNEW OR SHOULD HAVE KNOWI\ THAT 2939
              SHERIDAI\ AVENUE NORTH WAS A RENTAL PROPERTY WITH TENANTS
              HAVING INDIVIDUAL LEASE HOLDS


    It is inconceivable that law enforcement did not know this fact when Offrcer Marshall requested

    the warrant. By allegedly characterizing Mr. Turnage and Mr. McCoy as essentially

   ..roommates," rather than possibly being individual tenants of a rental building registered with the


   city of Minneapolis, the magistrate would never have issued the warrant for Mr. McCoy's unit.

   Purposely omitting this fact eliminates overbreadth from the magistrate's analysis.

            Law enforcement's incomplete information, and the incomplete investigation of the property

   registered as rental property that was provided to the magistrate should be characterized as a

   reckless disregard for the truth. An additional duty of thorough investigations was imposed on

   warrant applicant by the United States Supreme Court in Maryland v. Ganison. supra. at 85.

    In Ganison, police obtained a warrant for the 3'd floor of an apartment mistakenly believing that

    there was one rather than seven units on the third floor. The resulting warrant was overbreadth, but

    the Court refused to invalidate the wanant because of the Oflicer's "mistake."

        The facts of this case is completely distinguishable from the facts of Garrison. Here the

    police absolutely had to know that all tenants of the boarding house rented separate units, this was

    no mistake as the police made in Garrison. the pattern of omissions here can only lead to the

    conclusion that law enforcement was trying to create probable cause out of thin air.

        Here again additional duty would have included speaking to Mr. McCoy's Federal Probation

    agent to find out his actuat   living status, and had the fact that it was a multi unit dwelling and given


                                                       r6
            CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 17 of 24



Case Number: 20-150    (NEB/BRT)                                   dated:2|412021                 Page    l7of24

   the dearth of probable cause connecting Mr. Tumage to the property the magistrate may have

  "possibly" found probable cause as to Mr. Tumage's unit, but not as to Mr. McCoy's unit. The

   warrant for the entire house was purposely "overbreadth." Again, inclusion of this information

   would have further negated probable cause and was in reckless disregard for the truth, specifically

   as   to Mr. McCoy's unit. The Court must identiff four situations in which the Leon good faith

   exception does not apply in this case:   (l)   Where the affiant made a false or misleading statement,

    see@!aw€rg,438U.S.l54,l55.56,|7|.72(l978);(2)WhenaMagistratefailstoactin
    a neutral and detached manner and not serve merely as a rubber stamp        for the police,   see   Lo-ji

    sales. Inc. v. New York. 442 U.S. 319,326-28 (1979);       Aguilar v. Texas, supra, at I I l,12 L Ed 2d

   723,84 SCt l59.SeeIllinoisv.Gates.supra, at239,76LEd2d527,103 SCt23l7(3)whena

    warrant is based on a affrdavit so lacking in indicia probable cause as to render oflicial belief in

    its existence entirely unreasonable, see Leon,468 U.S. At9231' (4) the search warrant is so

    deficient that no officer could reasonably presume it to be valid, United States v. Pucket.466 F.3d

    626,630 (8'h Cir. 2006)."

            For the reasons stated herein, Mr. McCoy respectfully request that the Court hold a Frank's

    Hearing to further develop the evidentiary record in this matter.




                  IV.      THE ILLEGALY SEIZED DODGE DURANGO



           The search of Mr. McCoy's Durango violated his rights per the Fourth, Fifth, and Fourteenth

    Amendments of the Constitution of the United States, and article I $ l0 of the Constitution of the


                                                        t7
             CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 18 of 24



Case Number: 20-150   (NEB/BRT)                                        dated:2|412021           Page   l8of24

    State of Minnesota.   It was only undertaken    because   of the previously discussed warrant for the

    2939 Sheridan Avenue boarding house, and was towed in violation of Minn. Stat.$ 1688.35

    Federal Rules: Fed R Crim P 4l (c)    (l)   (magistrate shall issue a warrant identifying the property,

    or person to be seized and naming or describing the person or place to be searched.)

          In United States v. Coleman. 909m F. 3d 925 (8'h Cir. 2018), the Eight Circuit concluded a

    search warrant executed to search the premises and curtilage is permitted, by the oficers ... to

    search a vehicle parked in the curtilage. Officer Marshall does mention to search within the

    curtilage of the boarding house at2939 Sheridan Avenue North, but the Magistrate did not

    approve that petition. (see Def, Ex. A   I-9). The Dodge Durango was not parked within the curtilage

    of the boarding house, but was legally parked down the street. Officer Marshall even admits that

    the Durango was not on the property. See (Def, Ex'        F   18   row 18,19)

    Another conflicting issue is that the Dodge Durango was not mention in the affidavit for the

    search warrant for 2939 Sheridan Avenue , which makes the search            of durango beyond the scope of

    the wanant for 2939 Sheridan Avenue. See (Def, Ex. A           I-9) Therefor it was a warrantless search

    andseizureofMr.McCoy'svehicle.(see,@5F.3d690;|994U.S.App.
    Lexis 13068). "At most the agents had a hunch that the drugs from the house or truck might be in

    the Oldsmobile. The prerequisite to a valid search under the automobile exception however is

    probable cause not a hunch    "   An Officers subjective belief no matter how sincere that he/she has

    suffrcient cause to seize a vehicle, or to conduct a search does not itself constitute probable cause.

          Here there can be no doubt that there was not an independent sowce of probable cause for the

    search   of Mr. McCoy's Durango. The vehicle that was named in Offrcer's Marshall's affidavit was

    a"gray 2002 Chewolet Blazer," MN. License Plate number CUV- 541. See (Def. Ex.l-2l Not the

     "Red Dodge Durango" MN. License Plate number DLP- 3l l.(see Def Ex' A I-9).

                                                       l8
              CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 19 of 24


Case Number: 20-150      (NEB/BRT)                                  dated:2|4/2021                Page   l9of24

            Law enforcement were only at the residence to carry out a search pursuant to the first

    warrant, and by Offrcer Marshall's own swom statement in the affrdavit of the second wanant he

    only "searched" the Durango by way of a dog sniffbecause of what was discovered in the home

    while canying out the first warrant. (see Def, Ex. E-J) See United States v. Hosan 25 F.3d

    690;1994 U.S. App. Lexis 13068.       (Were searchwas unlawful under same or similar

    circumstances) Thus, although dog sniffs            can constitute probable cause for a search, the     sniff

    of McCoy's Durango was not "genuinely" independent because it only occurred because of the

     first warrant. Also the false positive dog alert on the Durango adds more to lack of probable cause

    basedonthevehiclebeingsearchedandnonarcoticsbeingfound. (see Def, Ex. F-l6row Il-14)

    Furthermore it adds to the fact that Officer Marshall only had a hunch that drugs or guns could

    possibly be in the Durango.

              Moving beyond simply the warrant, the manner in which Mr. McCoy's Durango was towed

    also merits suppression.    At the Omnibus hearing in the State Court, Officer Marshall testified that

    the Durango was towed only because he thought it would be "safer" for all involved.

   (see     Def Ex. F-|8 row 19-21). This is not   a   "lawful" purpose for   a   tow under any Minnesota

    statue. As such, evidence obtained during the subsequent search of the durango must be

    suppressed as fruit of the poisonous tree. See Seeura v. United States. 468 U.S. 796,804,104 S

    Ct. 3380, 82 L. Ed. 2D 599 ( 1984). " Evidence obtained as a direct result of an unconstitutional

    search or seizure is   plainly subject to exclusion."

              The exclusionary rule applies with equal force to evidence that is derivative of an illegal

    search, unless the connection between the constitutional violation and the evidence is "so

    attenuated as to dissipate the taint." wong Sun v.United        s         37l u.s. 471,487,88 s. ct.407,

    9   L   Ed. 2D 441(1963) (citingNardone v. United States,308 U.S.338,341,60 S. Ct.26684 L. Ed.

                                                         l9
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 20 of 24


Case Number: 20-150       (NEB/BRT)                               dated:2|4/2021                Page20of24

    307 (1939).   It is the defendant's burden to malre an initial showing that evidence has been tainted

    by an unconstitutional searclr. See United States v. Riesselman. 646 F.3d 1072,1079 (8'h Cir.20l I ).

           As explained above the evidence seized from the Sheridan address must be suppressed

    because the search warrant was      fatally flawed. It was the government's burden to establish that the

    subsequent warrants and the physical evidence seized as a result of them were "untainted" by the

    initial flawed warrant. If the warant of the Sheridan Avenue boarding house was unlawful, the

    subsequent search warrants and physical evidence seized as a result are fruits of the poisonous

    tree. As a result Mr. McCoy request that the physical evidence seized pursuant to the warrant        of

    2939 Sheridan, and the illegal seizure of the Dodge Durango to be suppressed as fruit of the

    poisonous tree. Minn. Stat. 5 1688.035 Subd. 3(b) establishes the purpose for which a tow is

     lawfully authorized, and this is not one of them.

            Even the most permissive of the statue's subdivision does not grant officers the authority to

     tow here. Subdivision 3 (b) (l    l) " allows a law enforcement official   that has probable cause to

     believe that the vehicle is stolen or that the vehicle constitutes or contains evidence of a crime and

     impoundment is reasonably necessary to obtain or preserve the evidence." (While the law is

     strangely written its history of application makes clear that tows conducted for reasons not

     explicitly enumerated in subd. 3 (b) " are unlawful."

           Alternatively the same result can be reached by     a broad reading    of the Rule,***

     Smith v. Katzenbach. 122 U.S. App. D.C. I13,351 F.2d 810,814 (1965). Although some searches

     in violation of a statute do not constitute a Fourth Amendment violation see Florida v. Jardines.

     596, U.S.   l,   8-10,133 S. Ct. 1409, 185 L. Ed. 2D 495 (2013). " In the absence of warrant a

     search is ieasonable only if it falls within a specific exception to the warrant requirement."

     Rilqt v. california. 573 u.s. 373 s. ct. 2473, 2482, I 89 L. Ed. 2D 430, (2014). One exception

                                                      20
            CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 21 of 24


Case Number: 20-150     (NEB/BRT)                                    dated:2|412021                  Page2lof24

    to the warrant requirement permits law enforcement to conduct a search without a warrant or

    probable cause based upon an individual's consent so long as consent was voluntary and came

     from someone authorized to give it. "Appellate Courts have only found these technical violations

     exist wherein the violations did not subvert the basic purpose of the statue." Here the purpose             of

     the statue is clear to require more than probable cause to allow the police to tow a legally parked

     vehicle by also mandating they have a reasonable belief a tow is necessary to obtain or preserve

     evidence.

            When the Minnesota Legislature passed a law barring towing except under certain

     circumstances, it is providing additional protection against seizures afforded to citizens. The

     towing statute is rightly viewed as protection against certain forms of property seizure, the

     purpose of which is directly contravened when an otherwise legally parked vehicle is towed

     without reasonable belief impoundment is necessary to preserve or obtain evidence, even if law

      enforcement has probable cause to search it. The record is clear, no reasonable basis for such a

      tow existed here Officer Marshall was asked directly whether he had any reason to believe that

      impoundment was necessary to obtain or preserve evidence at the evidentiary hearing on July

       15,2020. Officer Marshall answered that he tows vehicles to be searched in every instance,

      because he believes     it is safer for all those involved. Thus, he had no reasonable belief towing

      the Durango was necessary to obtain or preserve evidence as required by law.

             Officer Marshall explicitly testified he could have obtained a search warrant for the vehicle

      and searched     it in front of the home, but chose not to.   (see   Def Ex. F-   17 row   2-4).lnfact,   as


      Officer Marshall testified "the tow involved allowing a third party not alliliated with law

      enforcement to access the interior of the vehicle and potentially disturb it's contents. (see Def,,

      Ex.   F-|7 row   25 and Def,   Ex. F-18 row 2/. thus this statutory violation is also a Constitutional

                                                       2l
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 22 of 24


Case Number: 20-150   (NEB/BRT)                                  dated:2/412021

      violation, because it is the sort described in Elkins v. United States. 364 U.S. 206,223-24, 80 S.

      Ct.1437,4L. Ed 2D 1669 (1960). (Evidence ohtained as the result of an unreasonahle search

      and seizure by state ofricers cannot be used against o defendant infederal court)

           This violation cannot be cured by subsequently securing a wanant for the vehicle. In fact,

      the Eight Circuit Court has explicitly held a legal search incident to an illegal tow is tainted by

      the illegality of the tow. Beck v. Ohio. 379 U.S. 89,   9l , l3 L. Ed. 2D 142,85   S. Ct. 223 (1964).

      Once Officer Marshall ordered the unlawful tow of the Durango he       forfeited his right to search

      it under any prior exception to the warrant requirement he may have had. Under the fruit of the

      poisonous tree doctrine suppression is the appropriate remedy, not only for the evidence directly

      obtained as the result of a Fourth Amendment violation, but also evidence that flows indirectly

      from unlawful searches and seizures. Wong Sun v. United States. 371 U.S. 471,484-88, 83 S.

      Ct.407,9L. Ed. 2D 441(1963); United States v. Tuton, 893 F.3d 562,568         (8'h Cir. 2018)   ("The

      exclusionary rule extends evidence later discovered andfound to be derivative of an illegality or

     fruit of the poisonous tree.") (quoting   Segura v. United States.468 U.S. 796,804,104 S. Ct.

     3380, 82L.Ed. 2D 599 (1984). The lack of probable cause in this application does not end the

     inquiry. When a warrant is not supported by probable cause ,before determining that evidence

     must be suppressed a reviewing court must consider whether it was "objectively reasonable" for

     an officer executing the search to rely in good faith on the Judge's determination that there was

     probable cause to issue the warrant. United States v. Hudspeth, 525 F.3d 667,676 (8'h Cir.

     2008).That is the reviewing court must ask whether the warrant is so facially lacking in probable

     cause as to preclude the executing   fficer's goodfaith reliance thereon.
               United States v. McNeil. 184 F.3d 770,775 (8'h Cir. 1999) (citing United States v.

     Leon.468 U.S, 879,922-23,104 S. Ct. 3405, 82 L. Ed. 2D 677 (1984).

                                                    22
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 23 of 24


Case Number: 20-150      (NEB/BRT)                                dated:2|4/2021                 Page23of24

           This test requires a warrant    affidnit   be so lacking   in indicia of probable cause as to

     render   fficial   belief in its existence entirely unreasonable. United States v. Leon,468 U.S. 897,

     923 104 S. Ct. 3405, 82 L. Ed. 2D 677 (1984) (citing Brown v..lllinois, 422 U.S. At 610-lI

    (powell, J. concurring in part). Certainly, it is rare for a search warrant     ffidavit to be so flawed
    as to meet this demanding standard, but this is that rare instance

    Mr. McCoy request a Franks Hearing to further develop the evidentiary record in this matter.




                                             CONCLUSION




           The failure of Offrcer Marshall to consistently fail to include information that was

      inconsistent with a finding of probable cause is evidence of a deliberate attempt to mislead the

      Magistrate. One might call this the ends that justifr the means investigation by Officer Marshall,

      but his refusal to follow up leads that were inconsistent with the conclusions that he wanted, and

      to omit them from the affidavit was at least reckless disregard for the truth, All evidence

      gathered pursuant to both the boarding house at2939 Sheridan avenue North, and Mr. McCoy's

      Dodge Durango must be suppressed

              An insufficient nexus existed between the boarding house and any illegal activity to

      justify the issuance of a search warrant for guns or drugs on the premises. Furthermore, the

      warrant for Mr. McCoy's Dodge Durango is fatally tainted because it is the fruit of the

      invalid warrant for the boarding house at2939 Sheridan Avenue North having no genuinely



                                                       23
          CASE 0:20-cr-00150-NEB-BRT Doc. 76 Filed 02/11/21 Page 24 of 24


Case Number: 20-150   (NEB/BRT)                               dated:2/4/2021              Page24of24

      independent basis. This illegality is only compounded by the State's violation of minn. Stat. $

      1688.035, which renders the seizure of the Durango unreasonable and in violation both the

      Fourth & Fifth Amendment of the Constitution of the United States of America, and Article I$

      l0 of the State of Minnesota. Also Officer Marshall must have or should    have known 2939

      Sheridan Avenue North is a multi-unit rental property that is registered with the City   of

      Minneapolis, in the County of Hennepin. That is had he done a thorough investigation of the

      property as required by law. The consistency with which the affrant Officer omitted information

      strongly suggests that the omission was deliberate, or at best done with reckless disregard for

      whether the information presented to the Magistrate was true   .



            The corrected affidavit does not supply a sufficient nexus to the boarding house at2939

      Sheridan Avenue North to justifu the search which is an unreasonable search warrant.




      Mr. McCoy respectfully request a Franks Hearing to further develop the evidentiary record in

      this matter. Officer Marshall must try to explain why the omissions were made, if not for to

      mislead and inflate probable cause. And for all the above mentioned reasons this Court must

      dismiss the indictment.




Dated February 4,2021




                                                                         Sherburne County Jail
                                                                         13880 Business Center Dr. NW.
                                                                         Suite 200
                                                                         Elk River.MN. 55330

                                                  24
